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UNITED STATES DISTRICT COURT ;
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to the attorney(s) of record. Discovery materials sent to the Court will be returned unfiled.
